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             EXHIBIT 20
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                EXHIBIT 17
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From:               Curtis, Annaleigh
Sent:               Thursday, January 18, 2024 12:17 PM
To:                 Kasaraneni, Karthik; Salvatore, Jerry A.; Liu, Michael; Meuth, Ryan; Anderson, Derrick;
                    WH_Moderna_Lit
Cc:                 lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas; Fisher,
                    Stanley; Kayali, Kathryn; Ghosh, Shayon; Tavares, Julie; Bernal Anderson, Haylee;
                    Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
                    brucewexler@paulhastings.com; ericdittmann@paulhastings.com; Park, Young J.; Kung, Simon;
                    Minniti, Carl; COVIDPatentPfizer; BioNTech-Moderna-PH; Podoll, A. Joshua
Subject:            RE: Moderna v. Pfizer and BioNTech, 22-cv-11378--Moderna Produced Document


Karthik:

We’ll respond to the balance of your le er in due course, but as to BioNTech’s improper use of privilege as a sword and
shield, the par es have been and con nue to be at an impasse. Your le er repeats claims already discussed by the
par es and confirms that BioNTech has no inten on of producing its withheld documents involving
                               . We intend to move to compel. The exhibits for that mo on include documents,
deposi on transcripts, privilege logs, and discovery responses that BioNTech has marked as confiden al or highly
confiden al subject to the protec ve order as well as correspondence discussing material that all par es have marked as
such. We intend to move for leave to file the memorandum in support of our mo on and exhibits thereto under
seal. Please confirm by 5 PM ET today that you do not oppose our mo on for leave to file under seal.

Best,
Annaleigh

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Wednesday, January 17, 2024 10:57 PM
To: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; Liu,
Michael <mliu@wc.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; Anderson, Derrick <danderson@wc.com>;
WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Counsel,

Please see the a ached le er.

Thank you,
                                                           1
               Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 4 of 14

Karthik

From: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>
Sent: Thursday, January 11, 2024 5:40 PM
To: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>;
Liu, Michael <mliu@wc.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; Anderson, Derrick <danderson@wc.com>;
WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann,
Eric W. <ericdittmann@paulhastings.com>; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Counsel,

On behalf of Annaleigh Cur s, please see the a ached correspondence.

Best,
Jerry

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Tuesday, January 9, 2024 11:37 PM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; Liu, Michael <mliu@wc.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Anderson, Derrick
<danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Counsel:

Defendants are in receipt of your January 8 le er, are considering it, and will respond to each of the remaining issues
therein. In the interim, I write separately on behalf of BioNTech with respect to the final issue raised in your
le er: Moderna’s improper asser on of privilege over por ons of MOD_000282515 and all of MOD_000332132.

Thank you for your responses on this issue. First, regarding the redac ons in Dr. Schrum’s paper (MOD_000282515), we
note that your le er expressly disclaims any common legal interest privilege between Moderna and Flagship
Ventures. During last week’s meet and confer, we asked that, to the extent Moderna’s basis for asser ng privilege over
the redacted informa on was not common‐interest privilege, you provide an engagement le er between Moderna and
                                                            2
               Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 5 of 14

Flagship or some other authority sugges ng that disclosure of legal advice from Flagship to third party Moderna did not
vi ate that privilege. You now state that Moderna was both “founded by” and “operat[ing] as part of Flagship” in 2010,
and that Flagship provided “legal counsel” to Moderna “at the me of the crea on of” the Schrum paper (i.e., July 24,
2011 according to your Privilege Log), but iden fy no such contract or other authority. Also, if there is anything further
you wish to iden fy with respect to the redac ons themselves reflec ng legal advice in view of Dr. Schrum’s tes mony
to the contrary, please let us know. (E.g., Schrum Tr. at 354:18‐355:12.)

Second, regarding the May 19, 2013 de Fougerolles white paper (MOD_000332132), we asked if you had any evidence
to support your belief that Dr. de Fougerolle’s paper en rely reflects             legal advice regarding intellectual
property or was reques ng such advice from her. In response, you have cited seven entries from your Privilege Log
dated from March 8 to April 30, 2013 as communica ons between                   and Dr. de Fougerolles, but provide no
representa ons as to those entries’ connec on to the separate de Fougerolles white paper, or explain how they
substan ate your refusal to produce the document, or even a redacted version of it. Five of the entries are listed as
emails with or without a achments “conveying or reflec ng legal advice or analysis regarding intellectual property
analysis or protec on,” and the remaining two are listed as emails with a achments “reques ng legal advice or analysis
regarding intellectual property analysis or protec on.” (Moderna’s 6th Suppl. Priv. Log.) None of the emails is dated on
or a er May 19, 2013—the date of the white paper—and we cannot see how they support your claim. (January 3 A.
Cur s Le er to K. Kasaraneni and R. Meuth.) In short, you have not iden fied any evidence that the de Fougerolles
white paper in its en rety was communicated to                and was done so to “seek[] addi onal legal advice from
[her],” as you contend. (Id.) You have also declined our invita on to provide direct confirma on from, for example,
              , that Dr. de Fougerolles prepared his white paper at her request for the purpose of providing legal advice
to Moderna, that he included her specific legal advice in that paper, or that the white paper was itself a request to her
for further legal advice. We also note that your most recent le er corrects your misstatement at last week’s meet and
confer that              had le an in‐house counsel posi on at Moderna, and that you ini ally seemed to suggest her
departure from this erroneous role was the reason you were unable to actually confirm the nature of the de Fougerolles
white paper with her.

So that we have fully met and conferred before involving the Court:
     Please confirm that your posi on is that the de Fougerolles white paper only includes substance that “requests
        or reflects legal advice or analysis regarding intellectual property analysis or protec on” from        and
        nothing else
     Please confirm that you have no other evidence or authority in support of your privilege asser on over the
        en re de Fougerolles white paper or the redacted por ons of the Schrum paper
     Please let us know if you disagree that we are at an impasse on these issues and if your forthcoming response
        may stand in for the Protec ve Order’s meet and confer requirement (D.I. 67, ¶ 9.3(c)), or else propose a me
        for a brief call tomorrow or Thursday

Separately, Moderna has failed to address key ques ons about its posi on that we raised in our December 22
correspondence and during the par es’ January 4 meet and confer with regard to Moderna’s issue with BioNTech’s
withholding of privileged documents. We intend to respond more fulsomely to the several new asser ons you made for
the first me yesterday regarding this issue when we respond to the remaining issues from your January 8 le er.

Thank you,
Karthik


From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Monday, January 8, 2024 5:32 PM
To: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Liu, Michael <mliu@wc.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Anderson, Derrick
<danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
                                                             3
              Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 6 of 14

Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann,
Eric W. <ericdittmann@paulhastings.com>; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Counsel:

Please see the a ached correspondence following up on our meet and confer on January 4, 2024.

Best,
Annaleigh

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Friday, January 5, 2024 12:07 AM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; Liu, Michael <mliu@wc.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Anderson, Derrick
<danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Counsel:

Thank you for the meet and confer this a ernoon regarding BioNTech’s concern that Moderna has improperly redacted
MOD_000282515 and the en rety of MOD_000332132. (Dec. 22 Email from R. Meuth to G. Salvatore.)

Regarding MOD_000282515, in view of Dr. Schrum’s tes mony that he co‐authored the document with another non‐
lawyer scien st (Schrum Dep. Tr. at 74:22‐75:16), we again requested the basis for asser ng a common legal interest
between Moderna and Greg Sieczkiewicz, who worked for third party Flagship Ventures (and whom we also do not
agree generated any basis for a privilege claim even with a common interest), a er having not received one in
Moderna’s previous response to this request (Nov. 22 Le er from M. Liu to A. Cur s at 2; Dec. 6 Le er from A. Cur s to
M. Liu at 1‐2). You stated that you did not have that central informa on about the basis of your privilege asser on at
hand, but would look into it further, consider our request, and promptly get back to us.

Regarding MOD_000332132, we restated that, upon the document being clawed back, BioNTech is surprised by the
failure to have produced a redacted version in view of the Protec ve Order’s requirement that par ally privileged
documents should be reproduced with redac ons a er being clawed back. (D.I. 67, ¶ 9.3.) We also noted that your
stated basis for the privilege claim, including in view of your le er from yesterday that the en re document is “a
memorandum reflec ng or reques ng legal advice or analysis regarding intellectual property analysis or protec on”
                                                           4
               Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 7 of 14

from a orney                , was not a suﬃciently convincing basis for completely withholding a white paper that was
authored by Moderna scien st Dr. de Fougerolles and not itself a communica on to anyone, let alone a lawyer. (Dec. 21
Email from G. Salvatore to Counsel; Jan. 3 Le er from A. Cur s to K. Kasaraneni & R. Meuth.) We asked for addi onal
insight into your understanding that the document en rely reflected                  legal advice regarding intellectual
property or was reques ng such advice from her, and you explained only that, while
                      you “believed” based on Dr. de Fougerolles posi on at the company at the me and the general
nature of the interac ons between him and                that the document reflected her legal advice. We asked if you
had actually checked your belief with            and explained our understanding that she had been Moderna’s
                                                 We also asked if you had any other specific evidence to support your
asser on that Dr. de Fougerolles specifically prepared this May 19, 2013 document using legal advice that had been
communicated to him by                and to request further legal advice on its subject ma er from             , such as
evidence of contemporaneous communica ons between them. You declined to answer these ques ons, but did say
that you would look into it further, consider our request, and promptly get back to us.

We noted that the Protec ve Order imposes certain me requirements for our mo on to the Court to challenge a claw‐
back, and you stated that you would not cite the PO’s me limit to preclude us from moving the Court while a privilege
challenge remains live, and that you do not intend to delay. Nor do we. We appreciate the courtesy and look forward
to your response regarding the two documents above. Please endeavor to provide it by COB Monday. To the extent
you decline or are unable to provide suﬃcient further support for your privilege asser on for either document on
Monday, we will consider the par es to be at an impasse.

Thank you,
Karthik


From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Wednesday, January 3, 2024 9:30 AM
To: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Liu, Michael <mliu@wc.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Anderson, Derrick
<danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann,
Eric W. <ericdittmann@paulhastings.com>; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Thanks, Karthik. We can use this dial in:

+1 347-991-6404,,199428355# United States, New York City
(833) 282-7926,,199428355# United States (Toll-free)
Phone Conference ID: 199 428 355#

Best,
Annaleigh

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Wednesday, January 3, 2024 9:04 AM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; Liu, Michael <mliu@wc.com>; Meuth, Ryan
                                                            5
                Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 8 of 14

<ryanmeuth@paulhastings.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Anderson, Derrick
<danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Hi Annaleigh,

Tomorrow at 2 PM also works for the BioNTech team.

Thanks,
Karthik

From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Wednesday, January 3, 2024 8:54 AM
To: Liu, Michael <mliu@wc.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; Salvatore, Jerry A.
<Jerry.Salvatore@wilmerhale.com>; Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Anderson, Derrick
<danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann,
Eric W. <ericdittmann@paulhastings.com>; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Michael:

We’re available at 2 PM tomorrow. If that works for the BioNTech team as well, please circulate a dial‐in.

Best,
Annaleigh

From: Liu, Michael <mliu@wc.com>
Sent: Tuesday, January 2, 2024 9:49 PM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; Salvatore,
Jerry A. <Jerry.Salvatore@wilmerhale.com>; Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Anderson,
Derrick <danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares,
Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
                                                            6
               Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 9 of 14

Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Annaleigh,

Pfizer is not available tomorrow a ernoon to discuss the issues you reference below. Would your team be available at
2pm on Thursday (1/4) instead?


Michael Xun Liu
Associate | Williams & Connolly LLP
680 Maine Ave, S.W., Washington, DC 20024
(P) 202‐434‐5706 | (F) 202‐434‐5029
mliu@wc.com | www.wc.com

From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Friday, December 29, 2023 12:03 PM
To: Meuth, Ryan <ryanmeuth@paulhastings.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Kasaraneni,
Karthik <karthikkasaraneni@paulhastings.com>; Anderson, Derrick <danderson@wc.com>; WH_Moderna_Lit
<WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Ryan,

We are available on 1/3 between 1‐3 PM ET to meet and confer on the following issues:

            BioNTech’s improper use of privilege as a sword and shield;
            BioNTech and Pfizer’s failure to adequately prepare witnesses and produce documents;
            Moderna’s requests for samples;
            Timing for production of documents from
            Moderna’s claim of privilege over the two documents you identify below.

Please confirm your availability.

Best,
Annaleigh

                                                          7
             Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 10 of 14

From: Meuth, Ryan <ryanmeuth@paulhastings.com>
Sent: Friday, December 22, 2023 7:37 PM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>;
Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Anderson, Derrick <danderson@wc.com>;
WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Thanks, Annaleigh. We accept your proposal to meet and confer the week following the New Year holiday. We request
January 3 or 4 and look forward to receiving your availability. Happy holidays, again.

Thanks,
Ryan


From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Friday, December 22, 2023 4:16 PM
To: Meuth, Ryan <ryanmeuth@paulhastings.com>; Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Kasaraneni,
Karthik <karthikkasaraneni@paulhastings.com>; Anderson, Derrick <danderson@wc.com>; WH_Moderna_Lit
<WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M.
<brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young J.
<youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; Minniti, Carl
<carlminniti@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH
<BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua <APodoll@wc.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Ryan:

We are in receipt of the email you sent late in the a ernoon the Friday before Christmas. We have already provided the
necessary informa on with respect to the privileged document BioNTech improperly a empted to mark at Dr. de
Fougerolles’ deposi on. Your asser ons regarding the redacted document marked in Dr. Schrum’s deposi on are
incorrect. We will respond further on both documents following the holiday.

Best,
Annaleigh




                                                          8
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From: Meuth, Ryan <ryanmeuth@paulhastings.com>
Sent: Friday, December 22, 2023 3:20 PM
To: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>;
Anderson, Derrick <danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Hi Jerry,

Thank you for your email.

Yes, as the par es’ counsel discussed oﬀ the record at Dr. de Fougerolles’ deposi on, the a empt to introduce
MOD_000332132 a er Wilmer’s claw‐back no ce three business days earlier was inadvertent. The prep set had been
prepared in advance of your claw‐back and the document did not on its face men on privilege. Upon your iden fying
this as a copy of the clawback we promptly avoided using it and confirmed destruc on.

We are in receipt of your stated basis for maintaining privilege over the en re document, but we con nue to dispute the
claw‐back. We also dispute the failure to redact/withholding of the en re document. If there is anything more to the
claim of privilege you are willing to state, please do so today by reply email before the holidays. You’ve now had a
significant amount of me since the claw‐back.

The Protec ve Order required Moderna to “reproduce any document or ESI that is comprised only par ally of Privileged
Informa on with the Privileged Informa on redacted.” (D.I. 67, ¶ 9.3.) We therefore understand your claim to cover
the en rety of the document.

Finally, the deposi on of Dr. Schrum on December 19 has shown that Schrum Ex. 13, which is MOD_000282515 and
Entry No. 3215 of Moderna’s Privilege Log, was improperly redacted.

Please provide your availability to meet and confer about this claw‐back and the Schrum Exhibit on Thursday, December
28, pursuant to D.I. 67, ¶ 9.3(c). If the holidays create a conflict, we can agree to a brief extension un l the following
week, per D.I. 67, ¶ 9.3(d).

Thanks again,
Ryan


From: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>
Sent: Thursday, December 21, 2023 3:07 PM
To: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Anderson, Derrick <danderson@wc.com>;
WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
                                                            9
             Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 12 of 14

<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M.
<brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young J.
<youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; Minniti, Carl
<carlminniti@paulhastings.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; BioNTech‐Moderna‐PH <BioNTech‐Moderna‐PH@paulhastings.com>; Podoll, A. Joshua
<APodoll@wc.com>
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Counsel,

Thank you for confirming that BioNTech has now complied with the Protec ve Order. We trust that counsel’s a empt
during the December 20 deposi on of Dr. de Fougellero to introduce the document we clawed back on December 15
was inadvertent.

We disagree that a redacted version of MOD_000332132 is required and will not be providing one. We also disagree
that based on your 5:04 pm on Wednesday December 20, Moderna is required to provide its basis for its privilege claim
by the end of the week. Nevertheless, Moderna’s basis for withholding the document is below.

The document is a memorandum reques ng or reflec ng legal advice or analysis regarding intellectual property analysis
or protec on. The a orney whose advice was requested was              .

Best,
Jerry

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Wednesday, December 20, 2023 5:04 PM
To: Anderson, Derrick <danderson@wc.com>; WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

EXTERNAL SENDER


Jerry,

BioNTech also confirms that the original and all copies of the document beginning at MOD_000332132 have now been
destroyed, as have any notes or other wri ngs or recordings that summarize, reflect, or discuss the specific content of
those documents as requested in your December 15 email below. However, BioNTech contests Moderna’s claw‐back of
this document pursuant to D.I. 67, ¶ 9.3(a). Please produce a redacted copy of the document this week and state the
basis for your privilege claim, including by iden fying the a orney whose legal advice is purportedly reflected in the
redacted por ons of the document.

Thank you,
                                                          10
              Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 13 of 14

Karthik


From: Anderson, Derrick <danderson@wc.com>
Sent: Wednesday, December 20, 2023 12:45 PM
To: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Cc: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com;
Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann,
Eric W. <ericdittmann@paulhastings.com>; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; rebeccahilgar@paulhastings.com; Minniti, Carl <carlminniti@paulhastings.com>;
Meuth, Ryan <ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Counsel,

On behalf of Defendant Pfizer Inc., we confirm that the original and all copies of the documents produced by Plain ﬀs
have been destroyed, as well as any notes or other wri ngs or recordings that summarize, reflect, or discuss the specific
content of those documents, pursuant to your December 15, 2023 email.

Derrick M. Anderson
Associate | Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202‐434‐5464 | danderson@wc.com | www.wc.com

From: Salvatore, Jerry A. <Jerry.Salvatore@wilmerhale.com>
Sent: Friday, December 15, 2023 11:27 AM
To: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson,
Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
brucewexler@paulhastings.com; ericdittmann@paulhastings.com; youngpark@paulhastings.com;
simonkung@paulhastings.com; rebeccahilgar@paulhastings.com; carlminniti@paulhastings.com;
ryanmeuth@paulhastings.com; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH Moderna Lit@wilmerhale.com>
Subject: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Moderna Produced Document

Counsel

Pursuant to paragraph 9.2(f) of the Protective Order (Dkt. 67), please immediately destroy the original and all copies of
one inadvertently produced document by Plaintiffs, Bates numbered MOD_000332132–MOD_000332141. Please
destroy any notes or other writings or recordings that summarize, reflect, or discuss the specific content of the
document, and make no further use of the documents or the information contained therein. Please confirm your
compliance within five days.

Best,
Jerry

                                                            11
                  Case 1:22-cv-11378-RGS Document 227-20 Filed 02/21/24 Page 14 of 14

Jerry A. Salvatore | WilmerHale
2100 Pennsylvania Avenue NW
Washington, DC 20037 USA
+1 202 663 6650 (t)
+1 202 663 6363 (f)
jerry.salvatore@wilmerhale.com

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